                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                     CRIMINAL DOCKET NO.: 3:99CR165-10-V


UNITED STATES OF AMERICA        )
                                )
           vs.                  )                       ORDER
                                )
DARRYL PATTERSON,               )
                Defendant.      )
________________________________)

      THIS MATTER comes before the Court upon remand from the Fourth Circuit Court

of Appeals for further proceedings consistent with the Court’s opinion.1

      IT IS, THEREFORE, ORDERED THAT:

      1) The U.S. Marshal shall deliver the above-named Defendant so that his presence
      may be secured in the United States District Court for the Western District of North
      Carolina on or before December 12, 2005;
      2) Defendant shall appear for re-sentencing before the undersigned in the Charlotte
      Division on January 23, 2006 at 11:30 a.m.;
      3) The Deputy Clerk shall deliver a copy of this Order to Defendant, Defense
      Counsel, U. S. Attorney’s Office, U. S. Marshal (certified copy), U. S. Probation, and
      the Courtroom Deputy.




      1
          The mandate issued September 2, 2005.



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                    Signed: October 31, 2005




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